Case 2:19-cv-13141-GCS-RSW ECF No. 1 filed 10/25/19                 PageID.1     Page 1 of 4



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN



 DAVID SCOTT, JR.                             :       Case No.
 9015 Tansing Drive                           :
 Cincinnati, Ohio 45231                       :
                                              :       Judge
        Plaintiff,                            :
                                              :
 v.                                           :
                                              :
 FORD MOTOR COMPANY                           :       COMPLAINT
 One American Road                            :
 Dearborn, MI 48126                           :
                                              :
        Defendant.                            :


        1.      This is an action under Employee Retirement Income Security Act of

 1974, 29 U.S.C. §1001 (ERISA) for the wrongful denial of benefits under Defendant’s

 2017 Special Incentive Program (SIP).

        2.      This Court has jurisdiction over the matter pursuant to 29 U.S.C. § 1132

 (e)(1) and U.S.C. §1131. The SIP requires that all actions arising under federal law be

 brought in this Court.

        3.      Plaintiff is a former employee of Ford Motor Company.

        4.      The SIP is an “Employee Benefit Plan” as defined in 29 U.S.C. §1002(3).

 Defendant is the named fiduciary and Plan Administrator.

        5.      At the time relevant to this matter, Plaintiff was a Regional Transportation

 Manager (RTM) working under the direction of Kevin O’Brien, an External Logistic

 Supervisor.
Case 2:19-cv-13141-GCS-RSW ECF No. 1 filed 10/25/19                   PageID.2   Page 2 of 4



         6.      As an RTM, Plaintiff was part of the North American Material Logistics

 (NAML) organization.

         7.      On June 5, 2017, Defendant announced the Company’s plan to offer

 voluntary separation packages to certain groups of employees in the United States. The

 announcement provided that “Manufacturing Engineering and Staff organizations will be

 participating in this cost reduction effort.”

         8.      At the time, Plaintiff was a Staff employee based at Ford’s plant in

 Sharonville, Ohio plant. Plaintiff was responsible for supporting three plants: the

 Cleveland and Lima Engine Plants, and the Sharonville Transmission Plant.

         9.      On June 7, 2017, Ford rolled out the SIP. Bruce Hettle, Ford’s Group Vice

 President for Global Manufacturing and Labor Affairs, sent an email to all eligible

 employees, including Plaintiff. All RTMs, including Plaintiff, received the same email.

         10.     On June 8, 2017, Plaintiff advised his supervisors that he had received the

 SIP offer and that he planned to accept it.

         11.     June 9, 2017, Kristie Kendall, a Ford human resource representative,

 advised Plaintiff that he received the notification about the SIP in error.

         12.     Plaintiff sought clarification of the decision to rescind the SIP offer.

 Plaintiff advised Ms. Kendall that he was a Staff employee; that he was not on plant

 roles; that his boss was a Staff employee; and that other RTMs in his group remained

 eligible for the SIP.

         13.     Ms. Kendall replied that the Manufacturing Plants were out of scope for

 the voluntary packages and that Manufacturing was not offering voluntary packages to

 employees assigned to plants.
Case 2:19-cv-13141-GCS-RSW ECF No. 1 filed 10/25/19                   PageID.3   Page 3 of 4



        14.     Plaintiff responded and made it clear that he did not work for or report to

 anyone in manufacturing. He also pointed out that he worked for MP&L staff and that

 other RTMs who performed the same function had not had their SIP offers rescinded.

 The RTMs, including Plaintiff, were responsible for servicing multiple plants throughout

 their respective regions.

        15.     Defendant refused to reinstate the SIP offer to Plaintiff, and he was denied

 participation in the Plan.

        16.     Upon information and belief, every RTM who elected to participate in the

 SIP was approved for benefits.

        17.     Plaintiff pursued an appeal through the Plan’s claim procedure. On May

 15, 2018, Defendant denied Plaintiff’s appeal and notified him of his right to file an

 action under ERISA. Plaintiff has exhausted his appeal rights under the SIP.

        18.     Defendant has wrongfully denied Plaintiff the right to participate in the

 SIP and has violated ERISA. Plaintiff is entitled to relief under 29 U.S.C. §1132(a)(1)(B).

        19.     Wherefore, Plaintiff requests the following relief:

                a.      all benefits to which he would have been entitled under the 2017
                        SIP;

                b.      prejudgment interest;

                d.      attorney fees, costs and expenses of this action;

                e.      all other relief which the Court deems appropriate.
Case 2:19-cv-13141-GCS-RSW ECF No. 1 filed 10/25/19                PageID.4     Page 4 of 4



                                                      Respectfully submitted,

                                                      s/ David Torchia
                                                      David Torchia
                                                      (Ohio Bar No. 0015962) 1
                                                      Tobias, Torchia & Simon
                                                      414 Walnut Street, Suite 321
                                                      Cincinnati, Ohio 45202
                                                      (513) 241-8137
                                                      davet@tktlaw.com
                                                      Attorney for Plaintiff




 1
     Counsel was admitted to this Court on August 20, 2019.
